                   Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 1 of 7 PageID: 149
AO 246B (Mod. DINJ 12106) SIi..t 1- Judgmant bi a CtMiInaI Can



                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


   UNITED STATES OF AMERICA

              V.
                                                                            CASE NUMBER      2:18-CR-00687-JMV-1
  MELISSA REYNOLDS

             Defendant.

                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


             The defendant, MELISSA REYNOLDS, was represented by ROBERT J. DEGROOT, ESQ.

The defendant pleaded guilty to count(s) I of the INFORMATION on 11/14/2018.                 Accordingly, the court has adjudicated
that the defendant is guilty of the following offense(s):

                                                                                                                     Count
  Title & Section                Nature of Offense                                            Date of Offense        Number(s)

  18 U.S.C 1349                  ATTEMPT AND CONSPIRACY TO COMMIT MAIL FRAUD                  2014 THRU 2017         1


       As pronounced on December 18, 2019, the defendant is sentenced as provided in pages 2 through 7 of this
judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count(s) 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

         It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of any
material change in economic circumstances.

             Signed this        18th    day of December, 2019.


                                                                            cNc\_oIa\I                 V
                                                                             John Michael VazquezQ.$..J.




 07208
                  Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 2 of 7 PageID: 150
A0 245B (Mod. DINJ 12106) Sheet 2   -   Imprisonment


                                                                                       Judgment Page 2 of 7
                                                                                                -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1


                                                         IMPRISONMENT

        The defendant is hereby committed to the Custody of the United States Bureau of Prisons to be imprisoned for a
term of 1 Year & 1 Day.

      The Court makes the following recommendations to the Bureau of Prisons: designation to a FCI camp as close to
Defendants home as possible.

        The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons upon
designation.




                                                            RETURN

             I have executed this Judgment as follows:




             Defendant        delivered          on                  To
 At                                                                       with a certified copy of this Judgment.



                                                                                 United States Marshal

                                                                            By




                                                                                  Deputy Marshal
                 Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 3 of 7 PageID: 151
AQ 246B (Mod. DINJ 1210e) Chat 3- CupwAnd Reline

                                                                                           Judgment Page 3 of 7
                                                                                                    -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1


                                                   SUPERVISED RELEASE
           Upon release from imprisonment, you will be on supervised release for a term of 5 years.

         Within 72 hours of release from Custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local Crime, must refrain from any
unlawful use of a Controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

           You must cooperate in the Collection of DNA as directed by the probation officer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

           You must comply with the following special conditions:

           FINANCIAL DISCLOSURE

           Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co
           mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
           financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
           opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
           business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
           U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
           of your income. You must cooperate in the signing of any authorization to release information forms permitting the
           U,S. Probation Office access to your financial records.

           NEW DEBT RESTRICTIONS

           You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
           monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
           must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
           obligation or otherwise has the expressed approval of the Court.

            SUPPORTING DEPENDENTS

            If you are Court-ordered to make child support payments or to make payments to support a person caring for a
            child, you must make the payments and comply with the other terms of the order.
                 Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 4 of 7 PageID: 152
AO 246B (Mod. DINJ 12408) Shuct Sc- Supriud Rictus

                                                                                             Judgment Page 4 of 7
                                                                                                      -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1



                                             STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must Comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
                Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 5 of 7 PageID: 153
AD 245B (Mad. DNJ 12dV Sh..t 3.- Sup.iYnd R.In*

                                                                                              Judgment Page 5 of 7
                                                                                                      -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1


                                          STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the Conditions of supervision.




    Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
 or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

    You shalt carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
 associate Probation Officers.

                                (Signed)_______________________________________________________________________
                                                     Defendant                                  Date



                                                  U.S. Probation Officer/Designated Witness                  Date
                    Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 6 of 7 PageID: 154
AO 8465 (Mcd. DINJ 12106) Sheet I - Reelitullan end FaiteIIure

                                                                                                 Judgment Page 6 of 7
                                                                                                         -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1


                                                                 RESTITUTION AND FORFEITURE


                                                                        RESTITUTION

         The defendant shall make restitution in the amount of $587,080.99. The Court will waive the interest requirement
in this case. Payments should be made payable to the U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street,
Rm 2020, Trenton, New Jersey 08608, for proportionate distribution to the following victims in the following amounts:

             Name of Payee (Victim)                                                       Amount of Restitution

             Bentley Financial Services                                                   $93235.99
             d/bla Porsche Financial Services
             885 Third Avenue
             New York1 NY 10022

             Municipal Credit Union of New York City                                      $61845.00
             2 Lafayette Street
             New York, NY 10007

             Shellpoint Mortgage Servicing                                                $432,000.00
             P.O. Box 740039
             Cincinnati, OH 45274-0039


The amounts ordered represent the total amounts due to the victims for these losses. The defendant’s restitution obligations
shall not be affected by any restitution payments made by other defendants in this case, except that no further payments
will be required once payment(s) by one or more defendants fully satisfies the victims’ total losses. 18 U.S.C.3664Q)(2)
may become applicable in this case. The following defendant(s) in the following case(s) may be subject to restitution orders
to the same victims for these same losses:

               Daniel K. Dxrans                                                       2018cr379-O1



               Germaine H. King                                                       201 8cr0379-02




         The restitution is due immediately. It is recommended that the Defendant participate in the Bureau of Prisons Inmate
Financial Responsibility Program (IFRP). If you participate in the IFRP, the restitution will be paid from those funds at a rate
equivalent to $25 every 3 months. In the event restitution is not paid prior to the commencement of supervision, you must
satisfy the amount due in the monthly installments of no less than $200, to commence 30 days after the release from
confinement.



         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
 monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
 Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

          Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
 fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
 of prosecution and court costs.
                   Case 2:18-cr-00687-JMV Document 98 Filed 12/18/19 Page 7 of 7 PageID: 155
AO 245B (Mad. DINJ 12/06) Sheet 6- Restitution and Forfeiture


                                                                                             Judgment Page 7 of 7
                                                                                                     -




Defendant: MELISSA REYNOLDS
Case Number: 2:18-CR-00687-JMV-1


                                                                RESTITUTION AND FORFEITURE


                                                                       FORFEITURE

             The defendant is ordered to forfeit to the United States:

             Money forfeiture in the amount of $548,242.00. Forfeiture order filed under separate order.




         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
 monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
 Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) Community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
